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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                         CASE NO. 3:17-cv-00072
                                      Plaintiffs,

                           v.                            ORDER

     JASON KESSLER, et al.,
                                                         JUDGE NORMAN K. MOON
                                       Defendants.



          This matter is before the Court on several motions by Defendant Christopher Cantwell,

   proceeding pro se. Dkts. 1063, 1109.

          In these motions, Mr. Cantwell sought orders from the Court directing the Warden of

   USP-Marion, to provide Cantwell with access to paper copies of the complaint, other documents

   in the record and discovery, see Dkt. 1109 at 1–2, and to provide him and his self-described “lay

   counsel” Mr. William A. White, to have greater computer and printer access at USP-Marion, so

   that they could review “electronic discovery or electronic copies of court filings,” see Dkt. 1063

   at 1–3. Notwithstanding Mr. Cantwell’s asserted difficulties in access to computers or records in

   the case, Mr. Cantwell himself or working with Mr. White have filed over twenty-five (25)

   motions in the past month. Dkts. 1062, 1063, 1066, 1077, 1084, 1085, 1088, 1090, 1096, 1098,

   1099, 1102, 1109, 1119, 1121, 1122, 1123, 1124, 1126, 1132, 1133, 1157, 1158, 1160, 1160,

   1161, 1162. The Court has granted Mr. Cantwell’s motion requesting that he be transported to

   Charlottesville for trial, and did so at Government expense, Dkts. 1031, 1104, 1105, and Mr.

   Cantwell is currently in transit. Accordingly, Mr. Cantwell’s motions, as they pertain to seeking




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   greater access to case-related materials at USP-Marion will be and hereby are DENIED as moot.

   Dkts. 1063, 1109.

          It is so ORDERED.

          The Clerk of the Court is directed to send a certified copy of this Order to the parties, to

   Mr. Cantwell, and to the United States Marshals Service.

          Entered this 8th     day of October, 2021.




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